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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

IN RE:
DAWN GENEVIEVE HERSMAN,                                    CASE NO. 23-80332-JJG-7
              Debtor.

RONNIE V. BURT,

                       Plaintiff,

       vs.                                                 ADVERSARY NO. 23-58021

DAWN GENEVIEVE HERSMAN,

                       Defendant.

                         MOTION FOR DEFAULT JUDGMENT

       Plaintiff, Ronnie V. Burt, by counsel, moves the Court for the entry of a default judgment

against the defendant, Dawn Genevieve Hersman, and in support of this motion states as follows:

       1. A Summons and Complaint were served on the defendant, Dawn Genevieve Hersman,

by certified mail on November 21, 2023, and more than 30 days have passed since that date.

       2. The time period within which the defendant must appear, answer, or otherwise defend

this action has expired and has not been extended by the Court and the defendant has not

appeared or otherwise defended this action.

       3. Plaintiff has sustained damages in the amount of $49,000.00 as a result of the

defendant's conduct which is described more fully in Plaintiff's Complaint, filed on November

17, 2023.

       4. Plaintiff has been harmed by the fraudulent acts of the defendant, which are described

more fully in Plaintiff's Complaint and which warrant a denial of discharge under 11 U.S.C.

Section 523(a)(2), (4), and (6).
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       5. Plaintiff is also entitled to reasonable attorney fees in the amount of $18,822.81, as

supported by the Affidavit of Attorney Fees submitted herewith as “Exhibit 1.”

       WHEREFORE, Plaintiff respectfully requests the Court for entry of a Default Judgment

against the defendant, Dawn Genevieve Hersman, in the amount of $49,000.00, plus pre-

judgment and post-judgment interest at the statutory rate, plus costs in this action in the amount

of $350.00, reasonable attorney’s fees, a determination that said judgment is non-dischargeable

in the Defendant/Debtor’s bankruptcy proceedings, and all other just and appropriate relief in the

premises.

                                               WILKINSON, GOELLER, MODESITT,
                                                 WILKINSON & DRUMMY, LLP1
                                               333 Ohio Street, P.O. Box 800
                                               Terre Haute, IN 47808-0800
                                               Telephone: (812)+232-4311
                                               Telecopier: (812)+235-5107

                                               By: /s/ Rema Sulieman
                                                   Rema Sulieman #35812-84

                                     CERTIFICATE OF SERVICE

         I certify that on January 5, 2024, a copy of the attached was filed electronically. Notice of
this filing will be sent to the following parties through the Court’s Electronic Case Filing System
or sent by First Class United States Mail, postage prepaid, to:

       Richard John Shea, Jr.; ecf@sawinlaw.com
       Lou Ann Marocco; trustee@maroccolawindy.com
       United States Trustee, S.D., IN; ustpregion10.in.ecf@usdoj.gov

       Dawn Genevieve Hersman
       5 Chickadee Lane
       Terre Haute, Indiana 47802

                                                       /s/ Rema Sulieman
                                                       Rema Sulieman, #35812-84
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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION

IN RE:
DAWN GENEVIEVE HERSMAN,                               CASE NO. 23-80332-JJG-7
              Debtor.

RONNIE V. BURT,

                   Plaintiff,

     vs.                                              ADVERSARY NO. 23-58021

DAWN GENEVIEVE HERSMAN,

                   Defendant.

                        AFFIDAVIT OF ATTORNEY FEES
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         Rema Sulieman, Affiant, being first duly sworn upon her oath, alleges and says as follows:

          1.        That Affiant is the attorney for Plaintiff in the above-captioned matter and is duly licensed to practice
law in the State of Indiana.

          2.       That Affiant’s law firm has represented numerous clients on matters similar to Plaintiff’s cause stated
in the above-captioned matter and is familiar with attorney fees typically associated in such cases.

         3.        That Affiant and other attorneys in Affiant’s law firm have spent approximately ___ hours in the
preparation and prosecution of this matter as of the date of this Affidavit in obtaining and reviewing all documents
supplied by Plaintiff in opening the file; continuing correspondence and telephone conversation with agents of Plaintiff
who supervised Plaintiff’s files and verified obligations of the matter in issue; preparing and filing the Complaint and
Summons; checking service of process; preparing motions, affidavits and attempting to obtain judgment.

          4.       That Affiant and other attorneys in Affiant’s law firm reasonably expect to spend an additional 20
hours in the pursuit of satisfaction of the judgment and matters related thereto.

          5.        That a total fee award of $3,650.00 is entirely reasonable and modest relative to the time and labor
required to prosecute this action; the difficulty of the questions of law involved; the skill required to prosecute this
action; the fee charged in this locality for similar services; the amounts involved and the results obtained; the nature and
length of the professional relationship with Plaintiff; and the experience, reputation, and ability of Affiant and his law
firm performing the services.

        Affiant affirms under penalties of perjury that the foregoing statements are true and correct to the best of his
knowledge and belief.


                                                                    ______________________________________
                                                                    Rema Sulieman


STATE OF INDIANA                      )
                                      )SS:
COUNTY OF VIGO                        )

    SUBSCRIBED AND SWORN TO before me, a Notary Public in and for and a resident of said County and

    State, the above Rema Sulieman, personally appeared this 27th day of December, 2023.



                                                                    ____________________________________
                                                                    Notary Public

                                                                    Printed:___________________________________

                                                    County of Residence:____________________________________

                                           MY COMMISSION EXPIRES:__________________________________
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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION

IN RE:
DAWN GENEVIEVE HERSMAN,                               CASE NO. 23-80332-JJG-7
              Debtor.

RONNIE V. BURT,

                   Plaintiff,

     vs.                                              ADVERSARY NO. 23-58021

DAWN GENEVIEVE HERSMAN,

                   Defendant.

                        DEFAULT JUDGMENT ORDER
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         This matter came before the Court on a Motion filed by Plaintiff, Ronnie V. Burt, seeking judgment by
default against Defendant, Dawn Genevieve Hersman.

          The Court, having read and examined such Motion and having been first duly advised in the premises, now
finds as follows:

         1.        That Defendant, Dawn Genevieve Hersman, was duly served by Certified Mail.

         2.        That the time for filing an Answer or otherwise responding to Plaintiff’s Complaint has passed.

         3.        That Defendant has failed to answer or otherwise respond to Plaintiff’s Complaint.

         4.        That Defendant is indebted to Plaintiff in the sum of $27,282.82.

         5.        That Plaintiff is entitled to reasonable attorney fees in the amount of $3,650.00.

         6.        That said judgment is non-dischargeable, pursuant to 11 U.S.C. Section 523(a)(2), (4), and (6).

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiff, Ronnie V. Burt, shall have
judgment against Defendant, Dawn Genevieve Hersman, in the sum of $ plus pre-judgment and post-judgment
interest at the statutory rate, plus costs of the action in the amount of $350.00.

         SO ORDERED this ________ day of __________________, 202__.



                                                        _______________________________________
                                                        Judge, U.S. Bankruptcy Court


Distribution to:

Dawn Genevieve Hersman
5 Chickadee Lane
Terre Haute, Indiana 47802

Rema Sulieman, rsulieman@wilkinsonlaw.com
Richard John Shea, Jr.; ecf@sawinlaw.com
Lou Ann Marocco; trustee@maroccolawindy.com
United States Trustee, S.D., IN; ustpregion10.in.ecf@usdoj.gov
